JS 44 (Rev. 10/20)       Case: 1:25-cv-00407-BMB Doc #:
                                               CIVIL    11-1 Filed:
                                                     COVER          07/07/25 1 of 3. PageID #: 112
                                                                SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Yolanda White                                                                                   ICU Medical Inc.
   (b) County of Residence of First Listed Plaintiff             Cuyhoga County                         County of Residence of First Listed Defendant              Orange County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       The Cochran Firm                                              Faegre Drinker Biddle & Reath LLP 110 W. Berry Street,
       1825 Market Center Blvd, Suite 500 Dallas TX 752073           Suite 2400 Fort Wayne, Indiana 46802, USA
       214-651-4260                                                  260-460-1647
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
   1   U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2     x    2   Incorporated and Principal Place           5     x5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument              Liability               367 Health Care/                                                                                        400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment          Slander                     Personal Injury                                                    820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                       450 Commerce
  152 Recovery of Defaulted              Liability               368 Asbestos Personal                                                  835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                       Injury Product                                                        New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product               Liability                                                         840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment            Liability              PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                  710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                 Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal               720 Labor/Management                  SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal               Property Damage                  Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
  196 Franchise                          Injury                   385 Property Damage             740 Railway Labor Act                 862 Black Lung (923)             850 Securities/Commodities/
                                     362 Personal Injury -            Product Liability           751 Family and Medical                863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                790 Other Labor Litigation            865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                              or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                           871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                           462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                     Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court              Reopened                    Another District            Litigation -                    Litigation -
                                                                                                                           (specify)                   Transfer                        Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity) :
                                       28 U.S. Code 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Diversity of Citizenship; Amount in Controversy, Cost
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          Bridget Meehan Brennan                                DOCKET NUMBER 1:25-cv-00407-BMB
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Jul 7, 2025                                                              /s/ Melissa Payne
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
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                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                Civil Categories: (Please check one category only ).

                  1.                General Civil
                  2.                Administrative Review/Social Security
                  3.                Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                     CASE NUMBER:
II.    RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:      is RELATED to another PENDING civil case            is a REFILED case           was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)      Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY:
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiff's residence.
        COUNTY:

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                 CLEVELAND                   Lake, Lorain, Medina and Richland)
                 YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

                  TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
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JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
